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United States Distl'ict Court, Nerthern District of Illinois

 

 

 

 

 

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CASE NUMBER 08 C 1213 DATE 6/25/2008
CASE Pauinters District Counci] vs H & P Contractor, lnc.
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Status hearing held. Default judgment is enterd in favor of plaintiff and against defendant in the amount of
$31,2`38.40. Plaintif`fs are given leave to file a petition fur attorneys’ fees and costs.

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[Fer further detail see separate order]
[Decketing to mail notice]

 

 

 

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